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05
                               UNITED STATES DISTRICT COURT
06                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
07

08 UNITED STATES OF AMERICA,              )
                                          )
09               Plaintiff,               )           Case No. CR06-0106-RSM-JPD
                                          )
10         v.                             )
                                          )           DETENTION ORDER
11   JONATHAN ESCALANTE,                  )
                                          )
12               Defendant.               )
     ____________________________________ )
13

14 Offenses charged:

15          Count 1: Conspiracy to Commit Bank Fraud in violation of 18 U.S.C. §§ 1344 and 2.

16 Date of Detention Hearing:     August 1, 2006.

17          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

18 based upon the factual findings and statement of reasons for detention hereafter set forth,

19 finds the following:

20         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

21          (1)    Defendant has no supportive ties to the Western District of Washington or to

22 this community.

23          (2)    Defendant has a background history of previous failures to appear and failures

24 to comply with court orders.

25          (3)    Defendant is associated with alias names, different dates of birth, and alternate

26 social security numbers.


     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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01          (4)     Defendant has problems involving potential methamphetamine use.

02          (5)     Defendant is considered a continual economic danger to the community.

03          (6)     There appear to be no conditions or combination of conditions other than

04 detention that will reasonably address the risk of flight and danger to other persons or the

05 community.

06          IT IS THEREFORE ORDERED:

07          (1)     Defendant shall be detained pending trial and committed to the custody of the

08                  Attorney General for confinement in a correction facility separate, to the

09                  extent practicable, from persons awaiting or serving sentences or being held in

10                  custody pending appeal;

11          (2)     Defendant shall be afforded reasonable opportunity for private consultation

12                  with counsel;

13          (3)     On order of a court of the United States or on request of an attorney for the

14                  government, the person in charge of the corrections facility in which

15                  defendant is confined shall deliver the defendant to a United States Marshal

16                  for the purpose of an appearance in connection with a court proceeding; and

17          (4)     The Clerk shall direct copies of this Order to counsel for the United States, to

18                  counsel for the defendant, to the United States Marshal, and to the United

19                  States Pretrial Services Officer.



                                                          A
20                  DATED this 1st day of August, 2006.

21
                                                          JAMES P. DONOHUE
22                                                        United States Magistrate Judge
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     DETENTION ORDER                                                                           15.13
     18 U.S.C. § 3142(i)                                                                    Rev. 1/91
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